                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA,                         )
                                                   )
                        Plaintiff,                 )
                                                   )
 v.                                                )           No. 3:09-CR-64
                                                   )
 RONALD THOMPSON-BEY,                              )           (PHILLIPS/GUYTON)
                                                   )
                        Defendant.                 )

                                 MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. This case is before the Court on the Motion of Defendant Ronald

 Thompson-Bey to Reveal the Identity of Government’s Confidential Source [Doc. 117], filed on

 September 1, 2009. The Court held a hearing on this motion on November 3, 2009. Assistant

 United States Attorney Tracy L. Stone represented the Government. Attorney David H. Dupree

 appeared on behalf of the Defendant, who was also present.

                The Defendant moves the Court to order the Government to reveal the identity of

 confidential source number two (“CS2”) referenced in Special Agent Andrew Chapman’s affidavit

 in support of the Criminal Complaint [Doc. 1]. He argues that knowledge of CS2's identity is

 necessary to his defense in order for him to ascertain CS2's potential testimony before trial so that

 he can (1) reconstruct CS2's contacts with the Defendant, (2) determine whether to call CS2 as a

 witness, and (3) develop other witnesses to bolster or impeach CS2. He maintains that identification

 would not endanger CS2 because the Defendant is presently incarcerated and has no history of


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 violent crimes. At the November 3 hearing, defense counsel argued that identification of CS2 is

 necessary for the defense to confront and cross-examine the informant as guaranteed by the Sixth

 Amendment’s Confrontation Clause. Moreover, he contends that knowledge of CS2’s identity is

 essential to a fair trial because the Defendant presently has no details regarding the interactions with

 CS2 that are alleged in Chapman’s affidavit.

                The Government responds [Doc. 130] that it has a privilege not to disclose the

 identity or location of confidential informants. Although it acknowledges that this privilege is not

 absolute, the Government argues that the Defendant has failed to show that knowledge of the

 informant’s identity is essential to his defense. In this regard, it states that identification of this

 informant is not necessary because he or she was not a participant in the crime. Additionally, it

 asserts that the Defendant has made no specific showing as to necessity, but only generally asserts

 that this witness’s testimony could be useful. At the hearing, AUSA Stone argued that revealing

 CS2's identity would deter other potential informants from assisting law enforcement and would

 raise “safety issues.”

                As a general rule, the government is not required to disclose the names of its

 witnesses before trial. See United States v. Perkins, 994 F.2d 1184, 1190 (6th Cir.), cert. denied,

 510 U.S. 903 (1993); United States v. McCullah, 745 F.2d 350, 353 (6th Cir. 1984); see also United

 States v. Dark, 597 F.2d 1097, 1099 (6th Cir.), cert. denied, 444 U.S. 927 (1979). With regard to

 the identities of confidential informants, the Supreme Court has recognized what has become known

 as the informer’s privilege:

                    What is usually referred to as the informer’s privilege is in reality
                the Government’s privilege to withhold from disclosure the identity
                of persons who furnish information of violations of law to officers
                charged with enforcement of that law. The purpose of the privilege

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                is the furtherance and protection of the public interest in effective law
                enforcement. The privilege recognizes the obligation of citizens to
                communicate their knowledge of the commission of crimes to law-
                enforcement officials and, by preserving their anonymity, encourages
                them to perform that obligation.

  Roviaro v. United States, 353 U.S. 53, 59 (1957) (citations omitted).

                This privilege is limited by the requirement that criminal trials be fundamentally fair.

 Id. at 60. In other words, the informer’s privilege must yield when the informant’s identity is

 “relevant and helpful to the defense of an accused” or “essential to a fair determination of a cause.”

 Id. at 60-61. This determination is subject to a case-by-case balancing of “the public interest in

 protecting the flow of information against the individual’s right to prepare his defense.” Id. at 62.

 In performing this balancing, the court should consider among other factors the charges, the

 potential defenses, and the significance of the informer’s testimony. Id. The Court of Appeals for

 the Sixth Circuit has held that danger to the life of the informant is entitled to significant weight in

 the balance. United States v. Jackson, 990 F.2d 251, 255 (6th Cir. 1993).

                To compel the disclosure of the identity of a confidential informant, a defendant must

 do more than speculate that knowing that identity would be helpful to his or her defense. See United

 States v. Moore, 954 F.2d 379, 381 (6th Cir. 1992) (holding that “[m]ere invocation of [one’s due

 process rights] does not automatically outweigh the public interest in protecting confidential

 informants”). “An informant must be disclosed only upon a showing by the defendant that

 disclosure is essential to a fair trial.” Id. A court may require disclosure if it finds that the

 informant’s provision of relevant testimony, which is material to the defense, is “reasonably

 probable.” United States v. McManus, 560 F.2d 747, 751 (6th Cir.), cert. denied, 434 U.S. 1047

 (1978). Once the defendant has made this initial showing, if the evidence reveals that “that it is


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 reasonably probable that the informer can give relevant testimony, the burden should be on the

 Government to overcome this inference with evidence that the informer cannot supply information

 material to the defense.” United States v. Eddings, 478 F.2d 67, 71 (6th Cir. 1973); see also United

 States v. Sharp, 778 F.2d 1182, 1187 (6th Cir. 1985) (observing that the defendant bears the initial

 burden of showing that the informant’s identity is relevant to his defense).

                The Government contends that disclosure of the informant’s identity is not required

 when the informant did not participate in the crime. In the present case, the Defendant is charged

 with conspiring to distribute heroin from October 2008 through May 15, 2009. Special Agent

 Chapman’s affidavit relates that in March 2009, CS2 told law enforcement “that he had been

 receiving heroin from [an] individual[] who he knew as ‘Ronnie,’ . . . [and he] later identified

 ‘Ronnie’ as Thompson-Bey[.]” Also, “CS2 estimated that he has received approximately seventy-

 five (75) packets of heroin since late-2008 by contacting Thompson-Bey” and others. Although the

 affidavit does not reflect that CS2 purchased heroin from the Defendant in a controlled buy, the

 Court finds that CS2 claimed to have obtained heroin from the Defendant during the time frame of

 the charged crime, which alleges distribution of heroin beginning in October 2008.

                In balancing a defendant’s need for the informant’s identity against the public interest

 in protecting the flow of information, courts have looked to the informant’s degree of involvement

 in the charged offenses. Courts are more likely to require disclosure when the informant is a “key

 witness,” who has arranged and participated in an illegal transaction, than when the informant

 merely gives officers a tip that proves helpful in securing a search warrant. United States v. Lloyd,

 400 F.2d 414, 416 (6th Cir. 1968); Sharp, 778 F.2d at 1186 n.5 (noting that disclosure is usually

 required when an informant is an “active participant in the events underlying the defendant’s


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 potential criminal liability” and usually not required when the informant is a “mere tipster or

 introducer”); see, e.g., McManus, 560 F.2d at 751 (affirming the denial of disclosure when the

 informant was not a direct participant in the drug transaction). When the informant “participated

 in the illegal transaction . . . , the courts have more often required disclosure of the identity of the

 informer.” Lloyd, 400 F.2d at 416. Based upon Special Agent Chapman’s affidavit, the Court finds

 that CS2 actively participated in the events giving rise to the conspiracy charge by obtaining heroin

 from the Defendant during the relevant time frame. Although this transaction (or transactions) was

 not a controlled buy, the Court finds that this conduct would form a basis for the Defendant’s

 participation in the charged conspiracy.

                The Government also argues that disclosure of the informant’s identity is not

 warranted because the Defendant has failed to meet his burden of showing that disclosure is essential

 to a fair trial. At the November 3 hearing, defense counsel argued that he needed to know the

 identity of CS2 so that he can question him about the particular incidents to which the affidavit

 alludes and can prepare to cross-examine him at trial. The Government argued that this “mere

 conjecture or supposition about relevancy” of the informant’s testimony was insufficient to merit

 disclosure of the informant’s identity. Our appellate court has deeemed the argument that an

 informant’s identity is necessary so that the defendant can prepare for cross-examination to lack

 “sufficient gravity” to merit pretrial disclosure. United States v. Davis, No. 89-5367, 1989 WL

 134194, at *2 (6th Cir. Nov. 8, 1989), cert. denied, 494 U.S. 1036 (1990). Indeed, the Court notes

 that the need to prepare for cross-examination would be present in virtually every case involving a

 confidential informant.

                The fact that an informant is the only other person with knowledge about a drug


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 transaction does weigh in favor of disclosure. See Roviaro, 353 U.S. at 64 (observing that the

 government’s informant and the defendant were the sole participants in the transaction and that the

 “informer was the only witness in a position to amplify or contradict the testimony of government

 witnesses”). The informant’s participation alone, however, is insufficient if the defendant cannot

 specifically link the informant’s testimony to his defense. United States v. Bryant, Nos. 90-1831

 and 90-1836, 1991 WL 256555, at *5-6 (6th Cir. Dec. 2, 1991). In Bryant, the defendant showed

 that the informant was an active participant in the charged drug transactions, but he did not contend

 that the informant’s testimony was necessary to any specific defense. Id. at *5. Instead, Bryant

 merely wanted to interview the informant to learn whether the informant could help his defense. Id.

 “Mere speculation about the possible usefulness of an informant furnishes a court with nothing to

 balance against maintenance of the privilege.” Id. The court held that

                [a]lthough the informant’s role as an active participant, as opposed to
                a mere tipster, is a factor relevant to Roviaro balancing, under the
                circumstances of this case it adds no real weight to the balance, since
                defendant has not demonstrated how that is significant to his defense,
                from an evidentiary point of view. To say that role should tip the
                balance under the circumstances of this case would be to assign to it
                the preclusive effect of a per se rule. This we are unwilling to do, in
                view of the previous case law of this circuit.

 Id. at *6. Likewise, in the present case, the Defendant has not demonstrated to the Court the way

 in which the informant’s testimony would be significant to his defense. Accordingly, the Court has

 no basis to find that knowledge of the informant’s identity is necessary to his defense.

                Finally, against the Defendant’s need to know the informant’s identity is the potential

 danger to the informant from disclosure. The Government’s sole statement with regard to the danger

 to CS2 came at the November 3 hearing when AUSA Stone stated that sound policy reasons exist

 to deny disclosure of the informant’s identity, namely that revealing the identity of the informant

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 “would be a strong deterrent for other informants coming forward and assisting law enforcement,

 as well as safety issues.” The Government’s three and one-half page response [Doc. 130] does not

 mention the issue of danger to the informant. The Defendant argues that the informant’s safety

 would not be compromised because he is presently incarcerated and has no past history of violent

 crimes. The Court observes that Codefendant Jonathan Paul McCalebb, whom the affidavit names

 as participating in a controlled buy with CS2,, is also detained pretrial. On the other hand, the

 Defendant’s wife Esther Elizabeth McCalebb-Pippins, whom the affidavit reveals also engaged in

 heroin transactions with CS2, is not. Four other codefendants have also been released pretrial.

 McCalebb-Pippins and these four defendants were warned about the legal consequences of

 threatening or tampering with a potential witness in their orders of release on conditions. Based

 upon the sparse record before it, the Court does not find the danger to CS2 to be particularly great.

                In balancing the policy behind the informer’s priviledge against the Defendant’s

 generalized need to know the informant’s identity, the Court concludes that the balance tips in favor

 of the privilege, even in light of the limited nature of the apparent danger to the informant from

 disclosure in this case. The Motion of Defendant Ronald Thompson-Bey to Reveal the Identity of

 Government’s Confidential Source [Doc. 117] is DENIED.

                IT IS SO ORDERED.

                                                   ENTER:

                                                        s/ H. Bruce Guyton
                                                   United States Magistrate Judge




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